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 7

 8   Counsel for Defendant Licona
 9

10                                  IN THE UNITED STATES DISTRICT COURT
11                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                        SAN FRANCISCO DIVISION
13

14    UNITED STATES OF AMERICA,                              Case No.: CR 19–00405 CRB
15                     Plaintiff,                            DEFENDANT'S SENTENCING MEMO
16               v.                                          Court:            Courtroom 6, 17th Floor
17    CARLOS LICONA,
18                     Defendant.
19
           I.         INTRODUCTION
20
           Defendant Carlos Licona will be before the court for sentencing in this Tenderloin drug case.
21
     Mr. Licona was driven to the United States from extreme poverty in rural Honduras. He has minimal
22
     criminal history (one prior for illegal entry) and plead guilty in this case to selling $18 of cocaine
23
     base. Mr. Licona submits this sentencing memorandum in view of the abbreviated Presentence
24
     Report, as well as attached letters of support from his family.
25
           II.        BACKGROUND
26
           Mr. Licona was born in Honduras to Martina Licona Martinez. Mr. Licona’s father left his
27
     mother while she was pregnant and Mr. Licona did not meet him until much later in life. According
28
     to Mr. Licona, his early life was very difficult, as his family was extremely poor. Mr. Licona lived
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 1
     with his three siblings and grandparents in a house that was too small for all of them in a remote,
 2
     rural farming area. There was just one bedroom and no bathroom, no electricity, and no running
 3
     water. The floors were dirt and Mr. Licona slept next to his grandmother for warmth. The family
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     had to carry water in buckets to the house every day from a spring nearly a mile away. They also
 5
     frequently went hungry. Mr. Licona’s diet was confined to rice and beans. He often did not have
 6
     enough for lunch and went to bed hungry. Although there was little crime in the area, a mentally ill
 7
     uncle sometimes abused his grandmother, which Mr. Licona witnessed. Mr. Licona attended school
 8
     until the sixth grade but then had to drop out to work. From the age of 13, he worked as a laborer in
 9
     fields, at first with his grandparents, and then for other landowners on his own. Mr. Licona’s mother
10
     worked as a house cleaner to support the family in the city, a three-hour bus ride away; he rarely saw
11
     her. Mr. Licona met his father for the first time at age 12. He relates feeling terrible at the time: he
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     did not know what to say to him, and he had no understanding of who his father was, or how he could
13
     have left him before birth. He met his father on one other occasion, a year later. The encounter was
14
     equally painful for Mr. Licona and today, he does not maintain any contact with his father.
15
           Mr. Licona first came to the United States several years ago to make money to send back to
16
     Honduras to pay for a liver cancer operation for an aunt, and for his sister’s schooling. He came
17
     alone and lived in Arizona until he was deported in 2018. He returned to the United States for
18
     economic reasons again a little over a year ago. He found work at a laundry company in San Mateo
19
     and lived with a friend from Honduras in Oakland and sent his earnings back to his family in
20
     Honduras. One night when Mr. Licona living in Oakland he was robbed by a group of men, costing
21
     him his cell phone. Mr. Licona turned to selling drugs on the street only after he lost his job at the
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     laundry company and was unemployed for five months. He regrets doing so. While in custody, Mr.
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     Licona has been unable to communicate with his family in Honduras and he worries about his
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     mother’s health since she took sick recently.
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           III.    GUIDELINES
 2
                   A. Legal Standard.
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           Mr. Licona concurs in the Guideline calculation set forth in the plea agreement:
 4
           Base offense level, U.S.S.G. § 2D1.1(c)(14):                                                 12
 5
           Acceptance of responsibility, U.S.S.G. § 3E1.1:                                              -2
 6
           Total offense level:                                                                         10
 7
           In addition, Mr. Licona falls into Criminal History Category I. He received a sentence of 30
 8
     days in the District of Arizona for a violation of 18 U.S.C. § 1325 and no supervised release.
 9
     Pursuant to U.S.S.G. § 4A1.1(c), he receives one criminal history point for that prior sentence.
10
           The Guidelines sentence associated with a total offense level 10 and Category I is 6 to 12
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     months, within Zone B.
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           IV.     CONCLUSION
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           Mr. Licona hopes this memorandum and the accompanying materials are helpful to the Court.
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          Dated:    January 8, 2020                        Respectfully submitted,
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                                                           STEVEN G. KALAR
21                                                         Federal Public Defender
                                                           Northern District of California
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                                                                     /S
23                                                         DAVID RIZK
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     DEFENDANT'S SENTENCING MEMO
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